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                                               ACI
                              GENERAL CONTRACTING INC.
                                    "RENOVATION SPECIALISTS"


PROPOSAL

                                           January 14, 2022

Ms. Shalini Ahmed
505 NORTH STREET
GREENWICH, CT

MOLD REMEDIATION AND WATER DAMAGE REPAIRS (IDA)
(POOL HOUSE/ MAIN HOUSE)
    ITEM                                              AMOUNT
    Pool House
  1 Remove Drywall & Trim                                  750
  2 Trim Installation                                    1,650
  3 Drywall Repairs & Taping                             1,965
  4 Main Room Painting (No doors, casings or ceiling)    1,500
  5 Replace Dehumidifier (Pool House)                    3,595

      Main House
  6   Remove Damaged Drywall & Trim                                              950
  7   Repair Plywood Flooring & Trim                                           2,150
  8   Remove & reinstall Book Shelf, remove wet carpet underneath                850
  9   Repair Drywall & Tape                                                    2,650
 10   Paint Repairs                                                            1,450
 11   Site Work Drainage                                                       4,834
 12   Overhead Expenses                                                        4,468
      TOTAL                                                                   26,812

Note:
    The above work will take approximately 2 to 3 weeks to complete.




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